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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                Criminal Case No. 19-20235
            Plaintiff,
                                                SENIOR U.S. DISTRICT JUDGE
v.                                              ARTHUR J. TARNOW

SAM PALAZZOLA,

            Defendant.

                                      /

ORDER GRANTING DEFENDANT’S MOTION FOR RELEASE FROM CUSTODY BASED
                 ON CHANGED CIRCUMSTANCES [81]

      Defendant, Sam Palazzola, was indicted on April 17, 2019 for being a felon

in possession of a firearm, in violation of 18 U.S.C. § 922(g). (ECF No. 34). He has

been detained pending trial since October 2018. (ECF No. 19). On April 16, 2020

Palazzola moved for release from custody in light of changed circumstances—

namely, the COVID-19 pandemic and its risk to his health. (ECF No. 65). The Court

denied Palazzola’s Motion [65] without a hearing on April 27, 2020. (ECF No. 70).

On July 21, 2020, Palazzola filed an amended Motion for Release from Custody

Based on Changed Circumstances. (ECF No. 81). After receiving briefing from both

Palazzola and the Government, the Court conducted a hearing on the Motion [81]

on August 18, 2020. (ECF No. 86).



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                                  BACKGROUND

      Palazzola was arrested on October 15, 2018 pursuant to a criminal complaint

charging him with Conspiracy to Manufacture and Distribute Methamphetamine, in

violation of 21 U.S.C. §§ 846, 841 (ECF No. 1; ECF No. 23). On October 17, 2020,

Magistrate Judge Elizabeth A. Stafford found that a rebuttable presumption of

detention applied to Palazzola under 18 U.S.C. § 3142(e)(3). (ECF No. 19). She

further found that no condition or combination of conditions could reasonably assure

Palazzola’s appearance and the safety of the community, as required by 18 U.S.C.

3142(g). (Id.). Consequently, she ordered Palazzola detained pending trial. (Id.).

Palazzola has remained incarcerated and was indicted for being a felon in possession

of a firearm on April 17, 2019. (ECF No. 34).

                              STANDARD OF REVIEW

      A defendant ordered detained pending trial by a magistrate judge may move

to revoke or amend their detention order pursuant to 18 U.S.C. § 3145. “The court’s

review of the magistrate judge’s prior conclusion . . . is de novo.” United States v.

Calhoun, No. 18-20820, 2020 U.S. Dist. LEXIS 72714, at *2 (E.D. Mich. Apr. 24,

2020) (citing United States v. Cureton, No. 12-20287, 2013 U.S. Dist. LEXIS

118478, 2013 WL 4496276, at *1 (E.D. Mich. Aug. 21, 2013)).

      The Bail Reform Act requires that a defendant be detained pending trial if “no

condition or combination of conditions will reasonably assure the appearance of the



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person as required and the safety of any other person and the community.” 18 U.S.C.

§ 3142(e)(1) (emphasis added). To make this determination, courts look to the

factors in 18 U.S.C. § 3142(g).

      Even where the § 3142(g) factors initially weigh against release, however,

there are two circumstances under which a court may nevertheless order release.

First, a court can reassess the § 3142(g) factors if it “finds that information exists

that was not known to the movant at the time of the hearing and that has a material

bearing on the issue whether there are conditions of release that will reasonably

assure the appearance of the person as required and the safety of any other person

and the community.” 18 U.S.C. § 3142(f). And second, a court can order release

independent of the § 3142(g) factors if “such release [is] necessary for preparation

of the person’s defense or for another compelling reason.” 18 U.S.C. § 3142(i); see

United States v. Clark, No. 19-40068-01-HLT, 2020 U.S. Dist. LEXIS 51390, at *5

(D. Kan. Mar. 25, 2020) (citing United States v. Buswell, No. 11-CR-198-01, 2013

WL 210899, at *5 (W.D. La. Jan. 18, 2013)) (explaining that “[t]he defendant bears

the burden of establishing circumstances warranting temporary release under §

3142(i)”).

                                     ANALYSIS

      Because the Court already weighed the § 3142(g) factors in analyzing

Palazzola’s first Motion for Release from Custody [65], its analysis here will focus



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on the extent to which Palazzola’s circumstances have changed since the Court’s

previous Order [70]. Palazzola’s first Motion [65], filed in the early days of the

pandemic, sought relief purely on the grounds “the heightened risk of contracting

coronavirus . . . while in confinement.” (ECF No. 65, PageID.362). Palazzola’s

second Motion [81], the one at issue here, seeks relief in light of the fact that

Palazzola now has stable residency for home confinement that was not previously

available to him. (ECF No. 81, PageID.618). Specifically, the home of his brother,

who may also be able to provide him with stable employment at a construction

company. (ECF No. 81, PageID.619; Pretrial Services Status Memo (Sept. 16,

2020)). As a preliminary matter, the Court finds that this offer of stable residency

“was not known to [Palazzola] at the time of [his first two] hearing[s] and . . . has a

material bearing on the issue whether there are conditions of release that will

reasonably assure [his] appearance . . . and the safety of any other person and the

community.” 18 U.S.C. § 3142(f). It is thus appropriate for consideration.

      Palazzola’s history of homelessness was of serious concern to the Court in its

April 27, 2020 Order [70], which concluded by finding that Palazzola had failed to

“articulate[] how his safety will be improved outside of jail.” (ECF No. 70,

PageID.415). Specifically, the Court explained that because Palazzola had no home

to reside at, “he may very well end up in more danger of exposure—and exposing

others—than if he were to remain in jail.” (ECF No. 70, PageID.416). Consequently,



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although Palazzola’s newly uncovered housing and employment prospects do not

change the Court’s analysis as to the first two § 3142(g) factors—“the nature and

circumstances of the offense charged,” § 3142(g)(1), and “the weight of the evidence

against the person,” § 3142(g)(2)—they do change the Court’s analysis of the rest

of the § 3142(g) factors.

      The third factor to be considered in determining whether release is appropriate

is “the history and characteristics of the person.” 18 U.S.C. § 3142(g)(3). In

considering this factor previously, the Court noted, among other things, that

Palazzola “has no verified income, employment, or assets” and that “he had been a

transient since he was last released from jail.” (ECF No. 70, PageID.413). These

issues no longer weigh against Palazzola’s release. Moreover, Palazzola, who was

struggling with a methamphetamine addiction prior to his arrest, has undergone a

major detox since being incarcerated in October 2018. (ECF No. 81, PageID.623).

If released, Palazzola’s family would be able to help him remain clean and would

report any violations of his bond conditions to Pretrial Services. Thus, despite

Palazzola’s criminal record, the Court finds that § 3142(g)(3) tends to favor release.

      The fourth factor to be considered is “the nature and seriousness of the danger

to any person or the community that would be posed by the person’s release.” 18

U.S.C. § 3142(g)(4). Back when he had no home to be released to and was struggling

with symptoms of methamphetamine withdrawal, Palazzola may have posed a



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danger to the community upon release. Now, however, with a stable residence at

which he can reside and family members willing to help him stay out of trouble—

conditions that Palazzola has not had the benefit of for many years—the Court finds

that § 3142(g)(4) tends to favor release.

      Whether Palazzola should be released pursuant to the § 3142(g) factors is,

admittedly, a close question. The first two factors tend to favor detention, while the

second two factors tend to favor release. Ultimately, however, the Court is persuaded

that home confinement at the residence of Palazzola’s brother is a newly available

condition that “will reasonably assure the appearance of the person as required and

the safety of any other person and the community.” 18 U.S.C. § 3142(e); see United

States v. Hansen, 108 F. App’x 331, 332 (6th Cir. 2004) (noting that the Bail Reform

Act does require a “guarantee[]” but rather only reasonable assurance); see also

United States v. Watson, 475 F. App’x 598, 600 (6th Cir. 2012) (explaining that,

under 18 U.S.C. § 3142(f), “the new information must be of a nature that would

increase the likelihood that the defendant will appear at trial and would show that

the defendant is less likely to pose a danger to the community”).

      Because the Court finds that release is appropriate under § 3142(e), it declines

to reach the issue of whether temporary release is also appropriate under § 3142(i).

      Accordingly,




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      IT IS ORDERED that Palazzola’s Motion for Release from Custody Based

on Changed Circumstances [81] is GRANTED.

      IT IS FURTHER ORDERED that the Duty Magistrate Judge execute

Palazzola’s bond papers at Duty Court within 24 hours of the filing of this Order.

      IT IS FURTHER ORDERED that Palazzola comply with the following

conditions of release:

      The defendant shall undergo a strict fourteen-day quarantine upon
      his release and shall fully comply with any applicable state or local
      stay-at-home orders, social distancing guidelines, or other public
      health restrictions.

      Home Detention. The defendant must reside at the address
      provided to pretrial services and not change residences without
      prior permission. The defendant is restricted to his residence at all
      times except for employment; education; religious services;
      medical, substance abuse, or mental health treatment; attorney
      visits; court appearances; court-ordered obligations; or other
      activities pre-approved by the pretrial services office or supervising
      officer. The defendant’s travel is restricted to the Eastern District
      of Michigan unless the defendant receives the previous consent of
      the pretrial services office, supervising officer, or the court.

      The defendant must actively seek employment.

      The defendant must avoid all contact, directly or indirectly, with
      any person who is or may be a victim or witness in the investigation
      or prosecution, including, but not limited to, co-defendants.

      The defendant must not possess a firearm, destructive device, or
      other dangerous weapons.

      The defendant must not use alcohol at all, nor use or possess a
      narcotic drug or other controlled substance defined in 21 U.S.C. §
      802, unless prescribed by a licensed medical practitioner.

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     The defendant must submit to any testing required by the pretrial
     services office or supervising officer to determine whether the
     defendant is using a prohibited substance.

     The defendant must participate in a program of inpatient or
     outpatient substance abuse therapy and counseling if directed by
     the pretrial services office or supervising officer.

     The defendant must participate in a mental health assessment and
     treatment program as directed by pretrial services.


SO ORDERED.


                                   s/Arthur J. Tarnow
                                   Arthur J. Tarnow
Dated: September 18, 2020          Senior United States District Judge




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